                                               UNITED STATES BANKRUPTCY COURT
                                                 MIDDLE DISTRICT OF TENNESSEE
                                                      NASHVILLE DIVISION

       IN RE:                                                         )   CHAPTER 11
                                                                      )
       REO HOLDINGS, LLC,                                             )   CASE NO.: 16-03349
                                                                      )
                 DEBTOR.                                              )   JUDGE MASHBURN

         THE DEADLINE FOR FILING A TIMELY RESPONSE IS: October 17, 2018
         IF A RESPONSE IS TIMELY FILED, THE HEARING WILL BE: November 6, 2018, 9:00 AM, CUSTOMS
         HOUSE, COURTROOM 1, 701 BROADWAY, NASHVILLE, TN 37203


NOTICE PURSUANT TO LOCAL RULE 9013-1 OF THIRD INTERIM APPLICATION FOR ALLOWANCE OF COMPENSATION
                     AND REIMBURSEMENT OF EXPENSES OF MANIER & HEROD, P.C.

  Manier & Herod, P.C., has asked the court for the following relief: to approve the interim application for compensation and reimbursement of
  expenses of Manier & Herod, P.C. as counsel for the Post-Confirmation Distribution Agent from February 1, 2018, to August 31, 2018.

  YOUR RIGHTS MAY BE AFFECTED. If you do not want the court to grant the attached objection by entering the attached order, or if
  you want the court to consider your views on the motion, then on or before October 17, 2018, you or your attorney must:

      1. File with the court your response or objection explaining your position. PLEASE NOTE: THE BANKRUPTCY COURT FOR
         THE MIDDLE DISTRICT OF TENNESSEE REQUIRES ELECTRONIC FILING. ANY RESPONSE OR OBJECTION
         YOU WISH TO FILE MUST BE SUBMITTED ELECTRONICALLY. TO FILE ELECTRONICALLY, YOU OR YOUR
         ATTORNEY MUST GO TO THE COURT WEBSITE AND FOLLOW THE INSTRUCTIONS AT:
         <https://ecf.tnmb.uscourts.gov>.

         If you need assistance with Electronic Filing you may call the Bankruptcy Court at (615) 736-5584. You may also visit the
         Bankruptcy Court in person at: 701 Broadway, 1st Floor, Nashville, TN (Monday - Friday, 8:00 A.M. - 4:00 P.M.).

      2. Your response must state that (i) the deadline for filing responses is October 17, 2018, and (ii) the date of the scheduled
         hearing for the Third Interim Application for Compensation and Reimbursement of Expenses of Manier & Herod, P.C. is
         November 6, 2018. If you want a file stamped copy returned, you must include an extra copy and a self-addressed, stamped
         envelope.

      3. You must serve your response or objection by electronic service through the Electronic Filing system described above. You must
         also mail a copy of your response or objection to:
                                                             Michael E. Collins
                                                             Robert W. Miller
                                                            Manier & Herod, P.C.
                                                     1201 Demonbreun Street, Suite 900
                                                         Nashville, Tennessee 37203

    If a response is filed before the deadline stated above, the hearing will be held at the time and place indicated above. THERE WILL
    BE NO FURTHER NOTICE OF THE HEARING DATE. You may check whether a timely reply has been filed by calling the
    Clerk’s office at (615) 736-5584 or viewing the case on the Court’s website at <https://ecf.tnmb.uscourts.gov>.

    If you or your attorney does not take these steps, the court may decide that you do not oppose the relief sought in the motion and may
    enter the attached order granting that relief.

         Date:     September 26, 2018                               Signature:          /s/ Robert W. Miller
                                                                    Name:               Michael E. Collins (B.P.R. No. 16036)
                                                                                        Robert W. Miller (B.P.R. No. 31918)
                                                                    Address:            Manier & Herod, P.C.

                                                                                        1201 Demonbreun Street, Suite 900
                                                                                        Nashville, Tennessee 37203
                                                                                        (615) 244-0030 - Telephone
                                                                                        (615) 242-4203 – Facsimile
                                                                                        rmiller@manierherod.com

                                                                                        Counsel for the Post-Confirmation Distribution Agent




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          Case 3:16-bk-03349              Doc 388-5 Filed 09/26/18 Entered 09/26/18 10:46:33                                     Desc
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